Cee Suny Ba ae Be Ria ORL Toe contd HeAMSH RARMRaRABaSe ae CLAa/QUER So RARER ject

French[ProjectFrench@fticonsulting.com]; Molly Levinson[molly@mollylevinson.com]; Meredith Dearborn[mdearbomn@BSFLLP.com]
From: Elizabeth Holmes
Sent: Tue 10/27/2015 2:36:28 AM

Importance: Normal
Subject: RE: Clinical trials - GSK + Pfizer
Received: Tue 10/27/2015 2:36:29 AM

who is this going to

 

From: Toohey, Ryan [Ryan.Toohey@fticonsulting.com]

Sent: Monday, October 26, 2015 7:30 PM

To: Elizabeth Holmes

Cc: Sunny Balwani; Heather King; Strat Comm AMER Project French; Molly Levinson; Meredith Dearborn
Subject: Re: Clinical trials - GSK + Pfizer

This is helpful. Thanks Elizabeth.
And | think it is worthwhile to follow up on the DoD piece. WI'll keep that on our radar.

Ryan F. Toohey
917.280.2198

> On Oct 26, 2015, at 10:23 PM, Elizabeth Holmes <eholmes@theranos.com> wrote:
>

> OK - I'm pretty sure we have confidentiality agreements in place that restrict(ed) disclosure.

>

> Perhaps we just say the following. We should call their press people and let them know we're going to say this and coordinate with
them. We can say we never brought this up in the press, but we have all the contracts and reports from working with them if they want
to see them.

>

> | know at the time Roger wrote the Fortune article we did get permission from their press teams to reference that we had worked
together and they were excited about the fact that would be in Roger's piece.

>

> If we are going to bring up the DoD reference, that was what we were going to put in a piece --- we should talk to them about the fact
that we are going to talk about our studies we've been running for the past years since we have now been challenged, and get them in
the loop. We could likely get a good quote from them if we want to do a piece on that. We could also talk to them about publishing that
work that we've done with them - doesn't have to be their whole study, which is ongoing, just the work we've done.

>

> eK

>

> Theranos worked for pharmaceutical companies running laboratory tests for clinical trials for new drugs prior to launching its retail
clinical laboratory. We did work with Pfizer and GSK starting in around 2006 and 2008, respectively.

>

> Theranos has also run laboratory tests for clinical trials on novel medical advancements for DoD -medical research insitutes; that
work is currently ongoing.

>

>

> From: Toohey, Ryan [Ryan.Toohey@fticonsulting.com]

> Sent: Monday, October 26, 2015 6:31 PM

> To: Elizabeth Holmes

> Cc: Sunny Balwani; Heather King; Strat Comm AMER Project French; Molly Levinson; Meredith Dearborn

> Subject: Re: Clinical trials - GSK + Pfizer

 

: Very simple:

; Our work with Pfizer was primarily ____s and lasted roughly from _____ to

; Our work with GSK was primarily ___—s and lasted roughly from __ sto
. At the risk of getting greedy I'd do the same with:

5 Our work with the Dept of Defense was primarily ___—_s and lasted roughly
>froom_ to

>

> Thanks <- great stuff tonight.
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Case 5:18-cr-00258-EJD Document 1338-9 Filed 03/07/22 Page 2 of 3
> Ryan F. Toohey

> +1.212.850.5678 T | +1.917.280.2198 M

>

VVVVV

>> On 10/26/15, 9:03 PM, "Elizabeth Holmes" <eholmes@theranos.com> wrote:
>>

>> | am ok with that. Please give me draft sentences and | will fill in

>> blanks.

>>

>>

>>

>>> On Oct 26, 2015, at 7:53 PM, Toohey, Ryan

>>> <Ryan. Toohey@fticonsulting.com> wrote:

>>>

>>> Understand your concern but we are not talking about detailed

>>> descriptions. All we need to do is confirm that we did in fact work with
>>> them and we can do so in broad strokes. The downside in not answering
>>> is that we give away ground to skeptics/doubters etc. We just need to be
>>> able to say “yes we did work with them during x years." That's all. Is

>>> that possible? Forbes is the live inquiry on this right now. Thanks Sunny
>>>

>>> Ryan F. Toohey

>>> 917.280.2198

>>>

>>>> On Oct 26, 2015, at 7:32 PM, Sunny Balwani <sbalwani@theranos.com>
>>>> wrote:

>>>>

>>>> | don't know where the inquiries are from but | don’t think we need to
>>>> cite all our prior work as much of this will serve as a roadmap for

>>>> competetors who will try to follow this path. We can discuss the upside
>>>> versus the downside of this .... just my thoughts..

>>>>

>>>> ----- Original Message-----

>>>> From: Toohey, Ryan [mailto:Ryan. Toohey@fticonsulting.com]

>>>> Sent: Monday, October 26, 2015 3:47 PM

>>>> To: Elizabeth Holmes <eholmes@theranos.com>; Sunny Balwani

>>>> <sbalwani@theranos.com>

>>>> Cc: Heather King <hking@theranos.com>; Strat Comm AMER Project French
>>>> <ProjectFrench@fticonsulting.com>; Molly Levinson

>>>> <molly@mollylevinson.com>; Meredith Dearborn <mdearborn@BSFLLP.com>
>>>> Subject: Clinical trials - GSK + Pfizer

>>>>

>>>> Sunny and Elizabeth -

>>>>

>>>> We have a handful of media inquiries around the work we have done
>>>> previously with GSK and Pfizer. As they have said our work is not

>>>> ongoing, it would be helpful if we could cite a date range and describe
>>>> the scope of the work in some form. Can you provide any specifics here
>>>> beyond that we once collaborated? Thanks in advance.

>>>>

>>>> Ryan F. Toohey

>>>> 917.280.2198

>>>>

>>>>

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